54 F.3d 774NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    O'Orell SHARRIEFF, Plaintiff-Appellant,v.E.B. WRIGHT;  J.V. Beale;  D.R. Lawson;  Spencer;  Cain;Posey;  Scott;  R.L. Copeland;  J.A. Smith;  Renee Johnson;Patricia H. Moore;  M.J. Wilkerson;  Reager;  H. Underwood;Doctor Marshall;  Doctor Ramsey;  Doctor Ong;  Doctor Mason;Rambert;  Wilmouth;  S. Sykes;  Blondel;  Jules Thornton;Doctor Isaacson;  Edward W. Murray;  R.B. Kessler,Defendants-Appellees,andE.B. HARDEN, Doctor;  Lewis Reagen, Doctor;  Doctor Mucci;John Does 1-6;  E.B. Aarden, Doctor, Defendants.
    No. 94-7406.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 18, 1995.
    
      O'Orell Sharrieff, Appellant Pro Se.  Pamela Anne Sargent, Assistant Attorney General, Richmond, VA;  Jeff Wayne Rosen, ADLER, ROSEN &amp; PETERS, P.C., Virginia Beach, VA;  Sandra Morris Holleran, MCGUIRE, WOODS, BATTLE &amp; BOOTHE, Richmond, VA, for Appellees.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.*  We have reviewed the record and the magistrate judge's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the magistrate judge.  Sharrieff v. Wright, No. CA-93-166 (E.D. Va.  Nov. 8, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The parties consented to the jurisdiction of the magistrate judge pursuant to 28 U.S.C. Sec. 636(c) (1988)
      
    
    